           Case 1:19-cv-03831-CJN Document 21 Filed 02/24/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ASCENDIUM EDUCATION SOLUTIONS,
INC.,

              Plaintiff,

      v.                                             Civil Action No. 1:19-cv-03831 (CJN)

MIGUEL CARDONA, Secretary of
Education, et al.,

              Defendants.


                                             ORDER

       This matter is before the Court on Defendant’s Motion to Dismiss, ECF No. 10, and

Plaintiff’s Motion for Summary Judgment, ECF No. 13.

       For the reasons stated in the Memorandum Opinion, ECF No. 20, it is

       ORDERED that Defendant’s Motion to Dismiss is GRANTED with respect to repayment

agreements and DENIED with respect to rehabilitation agreements; it is further

       ORDERED that Plaintiff’s Motion for Summary Judgment is GRANTED with respect to

rehabilitation agreements and DENIED with respect to repayment agreements; it is further

       ORDERED that the Challenged Rule is VACATED and SET ASIDE with respect to

rehabilitation agreements; it is further

       ORDERED that Defendants are hereby ENJOINED from implementing, applying, or

taking any action whatsoever against Ascendium to enforce the Challenged Rule with respect to

rehabilitation agreements.

       It is ORDERED that the Parties shall file, by March 7, 2022, a joint status report including

a proposed briefing schedule for any litigation over fees and costs.


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        Case 1:19-cv-03831-CJN Document 21 Filed 02/24/22 Page 2 of 2




      This is a final appealable order.


DATE: February 24, 2022
                                               CARL J. NICHOLS
                                               United States District Judge




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